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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
TAM TRAN, et al. v. § MAG. JUDGE SHUSHAN
BP Exploration & Production, etal §

EDLA No. 10-4232 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs TUYET NGUYEN, HUYEN LE, TRAN
THUY, THAO HA, TIM NGUYEN, JOSEPH LE, DUONG PHAN, CUONG TRAN, MINH
TRAN, DARLENE MCKENDALL, ALLENA KIM, JONATHAN TRAN, THANH NGUYEN,
TRI LE, THAO NGUYEN, DUNG NGUYEN, HANH NGUYEN and THANH TRAN’S
Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice is hereby in
all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs TUYET NGUYEN,
HUYEN LE, TRAN THUY, THAO HA, TIM NGUYEN, JOSEPH LE, DUONG PHAN,
CUONG TRAN, MINH TRAN, DARLENE MCKENDALL, ALLENA KIM, JONATHAN
TRAN, THANH NGUYEN, TRI LE, THAO NGUYEN, DUNG NGUYEN, HANH NGUYEN
and THANH TRAN only, as listed on Exhibit “A” attached to said Motion are hereby
dismissed without prejudice. This Order in no way affects the claims of the remaining

Plaintiffs in this Civil Action.
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New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
